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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


 THOMAS SCHELL and CHRISTOPHER
 RILEY, on behalf of themselves and all
 others similarly situated,

                        Plaintiffs,              Case No. 1:21-cv-00103-MRB

                v.

 THE KROGER COMPANY d/b/a
 KROGER,

                        Defendant.


                                      CONSENT TO JOIN

        1.      I consent to be a party plaintiff in the lawsuit against The Kroger Company d/b/a
Kroger and/or related entities and individuals (collectively, “Kroger”) in order to seek redress for
violations of the Fair Labor Standards Act, pursuant to 29 U.S.C. § 216(b).

       2.       By signing and returning this consent form, I designate Conway Legal, LLC and
Meizlish & Grayson (Plaintiffs’ Counsel”) to represent me and make decisions on my behalf
concerning the litigation and any subsequent proceedings including in arbitration; the method and
manner of conducting the case; the negotiation, terms and approval of any settlement; and all other
matters pertaining to the lawsuit. I understand that reasonable costs expended on my behalf will
be deducted from any settlement or judgment amount on a pro rata basis among all other plaintiffs.
I understand that Plaintiffs’ Counsel will petition the Court for attorneys’ fees from any settlement
or judgment in the amount of the greater of: (i) the “lodestar” amount, calculated by multiplying
reasonable hourly rates by the number of hours expended on the lawsuit, or (ii) 1/3 of the gross
settlement or judgment amount. I agree to be bound by any adjudication of this action by a court,
whether it is favorable or unfavorable.



Full Legal Name (please PRINT clearly)                Signature



Maiden or Other Names Worked Under                    Date
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All Information you provide below is for use by the lawyers in this case and will not be filed with
the Court.



Street Address (with apartment number, if applicable)



City, State, and Zip Code



Cell Phone Number                                 Home Telephone Number



Personal Email Address
(we will use this as our primary method to contact you)



Emergency Contact Name                            Emergency Contact Phone Number
(in case we lose contact with you)


If you wish to electronically sign the Consent To Join form, please visit [WEBSITE].
